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IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF ARKANSAS
WESTERN DIVISION

LITTLE ROCK SCHOOL DISTRICT,

et al. PLAINTIFFS

V. No. 4:82-cv-866-DPM

PULASKI COUNTY SPECIAL

SCHOOL DISTRICT, et al. DEFENDANTS

LORENE JOSHUA, et al. INTERVENORS
ORDER

The Court appreciates and attaches a correction to Ms. Powell’s report
on JNPSD’s proposed Facilities Master Plan. Ne 5179.

So Ordered.

OPW }arshcll P.
D.P. Marshall Jr.
United States District Judge

 

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January 9, 2016

The Honorable D. Price Marshall. Jr.
Judge, United States District Court
Eastern District of Arkansas

600 West Capitol, Room D258
Little Rock, AR 72202-3325

Re: My letter of December 28, 2015 (JNPSD Facilities Master Plan) - Correction
Your Honor:

In my letter to you referenced above, I] entered incorrect information with respect to Arnold
Drive Elementary’s black enrollment for the 2013-14 school year. In my haste to get the report
to you, I entered the figure for Adkins Elementary (which was directly above Armold Drive on the
enrollment chart), The correct figure for Arnold Drive should read 22% black, instead of 50%
black for the 2013-14 school year.

In Joshua’s response to the JNPSD Facilities Master Plan, (Doc. 5183), Mr. Walker quoted
Arnold Drive’s black enrollment at 23.8% for the current school year. That figure represents a

slight increase in black enrollment from the previous year.

I sincerely apologize for the error. Nevertheless, my findings and conclusions remain the same.

Sincerely,

Margie L. Powell
Court Expert
